Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 1 of 10 Page ID #:932




                                 EXHIBIT C
                                506584638      03/30/2021
      Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 2 of 10 Page ID #:933
                              PATENT ASSIGNMENT COVER SHEET

Electronic Version v1 .1                                                  EPASID:PAT6631420
Stylesheet Version v1 .2

SUBMISSION TYPE:                    NEW ASSIGNMENT
NATURE OF CONVEYANCE:               CHANGE OF NAME

 CONVEYING PARTY DATA
                                    Name                              Execution Date
  ENTROPIC COMMUNICATONS LLC                                         02/13/2018

  RECEIVING PARTY DATA
  Name:                    MAXLINEAR COMMUNICATIONS LLC
  Street Address:          5966 LA PLACE COURT
  Internal Address:        SUITE 100
  City:                    CARLSBAD
  State/Country:           CALIFORNIA
  Postal Code:             92008

 PROPERTY NUMBERS Total: 157
          Property Type                    Number
 Application Number:            16926067
 Application Number:            16883504
 Application Number:            16735995
 Application Number:            16695234
 Application Number:            16693852
 Application Number:            16681244
 Application Number:            16595527
 Application Number:            16430533
 Application Number:            16391402
 Application Number:            16371842
 Application Number:            16237410
 Application Number:            16188962
 Application Number:            16161466
 Application Number:            16109396
 Application Number:            16004477
 Application Number:            15975946
 Application Number:            15974783
 Application Number:            15926153
 Application Number:            15904911

                                                                  PATENT
      506584638                                           REEL: 055776 FRAME: 0482
   Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 3 of 10 Page ID #:934
       Property Type                 Number
Application Number:      15881000
Application Number:      15860400
Application Number:      15832997
Application Number:      15832390
Application Number:      15830072
Application Number:      15808431
Application Number:      15717550
Application Number:      15632826
Application Number:      15632677
Application Number:      15598349
Application Number:      15426253
Application Number:      15275180
Application Number:      15156389
Application Number:      15155860
Application Number:      15083816
Application Number:      15045674
Application Number:      15037931
Application Number:      15030751
Application Number:      15001718
Application Number:      14978049
Application Number:      14962637
Application Number:      14960498
Application Number:      14933821
Application Number:      14882937
Application Number:      14877598
Application Number:      14861198
Application Number:      14829036
Application Number:      14801149
Application Number:      14774845
Application Number:      14510971
Application Number:      14451359
Application Number:      14394800
Application Number:      14383623
Application Number:      14334443
Application Number:      14302152
Application Number:      14188328
Application Number:      14177707
Application Number:      14165005


                                                       REEL: 055776 FRAME: 0483
   Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 4 of 10 Page ID #:935
       Property Type                 Number
Application Number:      14158484
Application Number:      14154101
Application Number:      14082544
Application Number:      14081512
Application Number:      13735957
Application Number:      13584541
Application Number:      13556040
Application Number:      13471613
Application Number:      13466582
Application Number:      13448639
Application Number:      13403144
Application Number:      13402014
Application Number:      13397443
Application Number:      13355413
Application Number:      13335735
Application Number:      13334975
Application Number:      13325418
Application Number:      13220530
Application Number:      13213370
Application Number:      13090907
Application Number:      13075719
Application Number:      13041662
Application Number:      13032580
Application Number:      13027030
Application Number:      13013795
Application Number:      12955642
Application Number:      12895312
Application Number:      12862636
Application Number:      12833827
Application Number:      12822676
Application Number:      12820382
Application Number:      12819106
Application Number:      12709435
Application Number:      12689858
Application Number:      12688559
Application Number:      12688535
Application Number:      12688518
Application Number:      12686645


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   Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 5 of 10 Page ID #:936
       Property Type                 Number
Application Number:      12635649
Application Number:      12581063
Application Number:      12580227
Application Number:      12580127
Application Number:      12579312
Application Number:      12558781
Application Number:      12557288
Application Number:      12538339
Application Number:      12477339
Application Number:      12473656
Application Number:      12415875
Application Number:      12414892
Application Number:      12336975
Application Number:      12245535
Application Number:      12245498
Application Number:      12241629
Application Number:      12165528
Application Number:      12117890
Application Number:      12031496
Application Number:      12027228
Application Number:      12027216
Application Number:      12027202
Application Number:      12016998
Application Number:      12015774
Application Number:      12015773
Application Number:      12015760
Application Number:      11938770
Application Number:      11938283
Application Number:      11763359
Application Number:      11618922
Application Number:      11555685
Application Number:      11553456
Application Number:      11538627
Application Number:      11537628
Application Number:      11292947
Application Number:      11292939
Application Number:      11241748
Application Number:      11231349


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    Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 6 of 10 Page ID #:937
        Property Type                          Number
Application Number:             11229297
Application Number:             11164768
Application Number:             11027999
Application Number:             11027952
Application Number:             10961863
Application Number:             10889975
Application Number:             10735523
Application Number:             10735521
Application Number:             10734604
Application Number:             10734603
Application Number:             10734535
Application Number:             10675566
Application Number:             10386094
Application Number:             10322834
Application Number:             10310255
Application Number:             10289011
Application Number:             10215609
Application Number:             10167158
Application Number:             10071771
Application Number:             10003062
Application Number:             09965242
Application Number:             09910412
Application Number:             09904432
Application Number:             09443054

CORRESPONDENCE DATA
Fax Number:                    (312) 775-8100
Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
Phone:                         3127758000
Email:                         mhmpto@mcandrews-ip.com
Correspondent Name:            MCANDREWS, HELD & MALLOY
Address Line 1:                500 WEST MADISON STREET
Address Line 2:                FLOOR 34
Address Line 4:                CHICAGO, ILLINOIS 60661

ATTORNEY DOCKET NUMBER:               MAXLIN EAR 03600-76698US0 1
NAME OF SUBMITTER:                    CHRISTOPHER C. WINSLADE
SIGNATURE:                            /Christopher C. Winslade/
DATE SIGNED:                          03/30/2021

                                                                             PATENT
                                                                     REEL: 055776 FRAME: 0486
     Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 7 of 10 Page ID #:938
Total Attachments: 3
source=Name change Amendment w Apostille (DE)- Maxlinear#page1 .tit
source=Name change Amendment w Apostille (DE)- Maxlinear#page2.tif
source=Name change Amendment w Apostille (DE)- Maxlinear#page3.tif




                                                                              PATENT
                                                                      REEL: 055776 FRAME: 0487
Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 8 of 10 Page ID #:939




                                 Apostille
                    (Convention de La Ha.ye du 5 Octobre 1961)


       1.   Country: United States of America


            This public document:
       2.   has been signed by Jeffrey W. Bullock


       3.   acting in the capacity of Secretary Of State Of Delaware


       4.   bears the seal/stamp of Office Of Secretary Of State


                                    Certified


       5.   at Dover, Delaware


       6.   third day of December, A.D. 2019


       7.   by Secretary of State, Delaware Department of State


       8.   No.204127744


       9.   Seal/Stamp:




                                                             PATENT
                                                     REEL: 055776 FRAME: 0488
Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 9 of 10 Page ID #:940




                                              Delaware                                               Page 1

                                                          The First State



                I,    JEFFREY W.          BULLOCK, SECRETARY OF STATE OF THE STATE OF

        DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

        COPY OF THE CERTIFICATE OF AMENDMENT OF "ENTROPIC

        COMMUNICATIONS, LLC'', CHANGING ITS NAME FROM "ENTROPIC

        COMMUNICATIONS, LLC" TO "MAXLINEAR COMMUNICATIONS LLC", FILED

        IN THIS OFFICE ON THE TWENTIETH DAY OF FEBRUARY, A.D. 2018, AT

        2:51 O'CLOCK P.M.




   5685495 8100                                                                      Authentication: 204127743
   SR# 20198411278                                                                               Date: 12-03-19
   You may verify this certificate online at corp.delaware.gov/authver.shtml



                                                                                       PATENT
                                                                               REEL: 055776 FRAME: 0489
           Case 2:23-cv-01050-JWH-KES Document 52-5 Filed 05/22/23 Page 10 of 10 Page ID
                                             #:941
          State of Delaware
          Secretary of SM~
      lmi~io.ll. of Corporal!ons
    Delivered 02:51. PM 0212012.llll!
     mm 02:s1 r1vro2nili201s
SR wrnm.3630 - Hi~ Numtm 56S5495
                                                   STATE OF DELAWARE
                                                CERTIFICATE OF A.MENDl\'fEN'T




                      2.           Th~ Certificate of Formation ofth~ Bmited liability company is hereby amended
                                  as follows:
                                   Article First:                 The name of the limited liability
                                   company i.s:             Max.Linear Communications LLC




                                  IN wr.rNESS W'HEREOI', the undersigned have executed this Certificate on
                                  the   -~L-3___ day of 3_·€.._'l:_n:_T'_~i1_-:rt:/ ····--·······-···-~"'~·--···:, A.D. _2_0_1_8_,




                                                                                                      Print or Type




                                                                                                              PATENT
       RECORDED: 03/30/2021                                                                           REEL: 055776 FRAME: 0490
